                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a
political subdivision in the City of Fayetteville,
State of Arkansas; et al.                                                           PLAINTIFFS

vs.                                CASE NO. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS et al.                                                  DEFENDANTS

        FAYETTEVILLE PUBLIC LIBRARY’S OBJECTIONS AND RESPONSES
      TO THE PROSECUTING ATTORNEYS’ FIRST SET OF INTERROGATORIES
                    AND REQUESTS FOR PRODUCTION

       Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, plaintiff

Fayetteville Public Library (“FPL”) provides these objections and responses to the Prosecuting

Attorneys’ First Set of Interrogatories and Requests for Production.

INTERROGATORY NO. 1:
     Identify 20 items in your collection that you believe are subject to regulation under

Section 1 of Act 372 of 2023.

RESPONSE TO INTERROGATORY NO. 1:
     FPL objects to Interrogatory No. 1 because Act 372 of 2023 is not in effect and, thus, it

regulates nothing. FPL also objects to Interrogatory No. 1 as vague in that the law itself is

vague. FPL is unable to “[i]dentify 20 items in [its] collection that” may be “subject to

regulation under Section 1 of Act 372 of 2023” because Act 372’s Availability Provision does

not define what it means to “make [an item] available “ to minors and, therefore, Act 372 is too

vague to understand. The Court ruled in its July 29, 2023, Memorandum Opinion and Order that

“Section 1” includes “certain terms” that “are too vague to be understood in relation to the other

terms.” The Court further ruled that “Section 1’s use of ‘presents,’ ‘makes available,’ and

‘shows’ leaves librarians and booksellers unsure about whether placing books known to contain

                                            Page 1 of 9
sexual content on the bookshelves may subject them to liability once a minor walks through the

front door.” The Court further ruled that there “is no clarity on what affirmative steps a

bookseller or librarian must take to avoid a violation.” Defendants should count FPL as being

among the librarians unsure what Section 1 of Act 372 prohibits because of its vagueness, lack of

clarity, and overbreadth. Theoretically, many items in FPL’s collection could be “subject to

regulation under Section 1 of Act 372” depending on how Act 372 is interpreted and the age of a

minor and Act 372 may be interpreted in any number of ways. Indeed, the Court’s July 29,

2023, Memorandum Opinion and Order identified James Joyce’s classic novel Ulysses as being

the type of work that could be subject to Act 372.

INTERROGATORY NO. 2:
     For each item identified in response to Interrogatory No. 1, identify the chapter numbers,

timestamps, or other specific indicator that you believe make the item subject to Section 1.

RESPONSE TO INTERROGATORY NO. 2:
     FPL objects to Interrogatory No. 2 because Act 372 of 2023 is not in effect and, thus, it

regulates nothing. FPL also objects to Interrogatory No. 2 as vague in that the law itself is

vague. FPL refers to its response to Interrogatory No. 1.

INTERROGATORY NO. 3:
     Are you and your employees required to follow the American Library Association’s Code

of Ethics?

RESPONSE TO INTERROGATORY NO. 3:
     No.

INTERROGATORY NO. 4:
     If you and your employees are required to follow the American Library Association’s

Code of Ethics, who requires compliance with that Code of Ethics?


                                            Page 2 of 9
RESPONSE TO INTERROGATORY NO. 4:
     FPL refers to its response to Interrogatory No. 3.

INTERROGATORY NO. 5:
     Identify who creates your policies related to the selection, relocation, and retention of

materials in your collection.

RESPONSE TO INTERROGATORY NO. 5:
     FPL staff creates and recommends policies to the FPL Board of Trustees who may

approve those policies.

INTERROGATORY NO. 6:
     Identify every person who has expressed their intent to you to challenge library materials

under Section 5 of Act 372 of 2023.

RESPONSE TO INTERROGATORY NO. 6:
     None. Act 372 has not gone into effect. In any event, no person has made any objection

while citing Section 5 of Act 372.

INTERROGATORY NO. 7:
     Identify all policies you have related to whether minors may browse your collection with

or without adult supervision.

RESPONSE TO INTERROGATORY NO. 7:
     FPL does not believe that it has specific policies “related to whether minors may browse

[its] collection with or without adult supervision.” Produced herewith are the following policies

that may be considered relevant to the request in Interrogatory No. 7: (1) Policy: Collection

Development; (2) Policy: Reconsideration of Library Materials; (3) Code of Conduct; (4)

Children at the Library; (5) Library Bill of Rights; (6) The Freedom to Read; and (7) The

Freedom to View.


                                           Page 3 of 9
                                       VERIFICATION

       I, David Johnson, am the Executive Director of FPL. I am authorized to make this

verification for and on behalf of FPL with regard to TruckSmarter’s responses herein. I have

reviewed these responses and am informed and believe that the matters stated therein are true.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 18, 2024 at Fayetteville, Arkansas.



                                                            /s/ David Johnson
                                                            David Johnson




                                           Page 8 of 9
                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of March, 2024, I served the foregoing on all defense
counsel of record, including counsel for the propounding parties, Noah P. Watson, via e-mail.

                                                            /s/ Brandon B. Cate




                                           Page 9 of 9
